CaSe:lS-lOQGB-TB|\/| DOC#234 Filed:OS/O?/J_S Entered203/07/1810237249

Fill in this information to identifv

UNITED STATES BANKRUP'I`CY COURT DISTRICT OF COLORAD()

 

 

 

Deb[()r ] ; 11380 Smifh Rd LLC Case # 18-‘10965 TBM
First Name Middle Name Lasl Name

Debtor 2: Chapter 11
First Name Middle Name Last Name

 

Local Bankruptcv Form 1009-1.1
Notice ol` Amendment of Petition, Lists, Schedules, Statements, and/or Addition of Creditors

Pagel of 6

 

Please check applicable boxes, complete applicable sections identifying each amendment, and attach additional

pages 35 HCCESSHY`_Y.

memorial

 

You are hereby notified that the debtor has filed amended documents:

mmendments

2.1. Petition
IE Not applicable (no amendments to Petition)

[:\ The following section(s) of the Petition are amended as follows:

 

Section of Petition information before amendment New information

 

 

 

 

 

 

 

2.2. List(S)
@ Not applicable (no amendments to List(s))

l:l The following List(s) are amended as follows:

 

List information before amendment New information

 

 

 

 

 

Change in creditor‘s name or address on List(s):

 

Creditor's name and/or address before amendment Corrected creditor‘s name and/or address

 

 

 

 

 

 

2.3. Schedule(s) of Debts
ll Not applicable (no amendments to Schedules of Debt(s))

ill Schedule(s) of Debts are amended as follows:
L.B.F. 1009-1.1 (12/17)

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Besl Case Bankruptcy

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Schedules A)'B:

 

Description of property

Interest in Property

Current value of entire property

Current value of portion owned

 

 

 

 

 

 

 

Schedule C:

 

Amount of the exemption you claim

Current value of debto\‘s interest

 

 

 

 

 

If you object to this amended claim of exemption, you must file and serve your objection within 30 days aher the date this
notice is served. Objections must be filed with the Court and a complete copy must be served on debtor’s attorney or

debtor, if unrepresented.

 

 

 

 

 

 

 

 

 

 

Schedule D:
New creditor or Amendment to existing Creditor's name, iast 4 Claim Collateral Col lateral Any other
creditor digits of account #, amount value changes
mailing address
[:| New creditor
[:l Amendment to existing creditor
|:[ New creditor
[:i Amendment to existing creditor
Schedule Esz
New creditor or Amendment to existing Creditol’s name, last 4 Total claim Priority amount Any other
creditor digits of account #, amount (if any) changes
mailing address
III New creditor Adams County 56,?52.38 56,'}'52.38
[___] Amendment to existing creditor Treasurer
Brigitte Grimm, Treas.
4430 S. Adam County
Pkwy
Brighton, CO 80601
E} New creditor Owners Insurance Co. Unknown
[:| Amendment to existing creditor Division of lnsurance Contingent,
1560 Broadway Disputed,
Denver, CO 80202 Unliquidated

 

Additional Notice:
Gregory Giometti, Esq.
50 S. Steele, #480
Denver, CO 80209

 

 

 

 

Schedule G

 

Contracting/Leasing party and address

What the contract or lease is for

 

 

 

Schedule H:

 

and address

Co-debtorfspouse, fenner spouse, or legal equivalent; name

territory

Creditor to whom you owe the debtfcommunity state or

 

 

 

 

L.B.I". 1009-1.1 (12117)

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l |

Schedule I:'J:

 

Amendediew information

 

 

 

 

 

2.4. Statements(s)
lf] Not applicable (no amendments to Statement(s))

L__| The following Statement(s) are amended as follows:

 

Statement Information before amendment New information

 

 

 

 

 

 

2.5. Addition of Creditor(s)
II] Not applicable (no add itions)
\:] Creditors have been added as foiiows (and Schedules D, E, or F have been amended accordingiy):
|:] Creditors have been amended as follows:

Change in creditor's name or address:

 

Creditor’s name andfor address before amendment Corrected creditor‘s name and:'or address

 

 

 

 

 

mouton of Debtor's Attorney or Dehtor (ii` unrepmented)

Dated: Mal'¢h 7» ama By; fsi Jeffrey A. Weinman
Signature

Bar Number (if applicable):: 7605 CO

Mailing Address: 730 11th Street
Suite 240

Denver, CO@Z|R
Telephone number: 303-572-1010
Facsimile number: 303-572-1011
E-mail address; jweinman@apitrustae.com

m verin¢aaon ornebcor

l declare under penalty of perjury that the foregoing is true and correct.

 

 

Dated; Mal'¢ti'l 7, 2018 By: 181 LQ|.|iS l'lard
Signature of debtor
Mailing Address:

 

Telephone number:

 

Facsimile number:

 

E-mail address:

 

_L,B.F. 1009-1.1__(1_2)"_1?) _ '

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Fi|i iri this information to irir.‘rltif‘,.r the r_:aSe:

Debier name 11380 SM|TH RD LLC

Uniied Staies Bankruptcy Couri for lhe: DlSTRiCT OF COLORADO

 

Case number lit known) 18-10965 TBM

 

l Check itthis is an
amended filing

 

 

thcia| Form 206E!F
Schedu|e ElF: Creditors Who Have Unsecured Claims mrs

Be ss complete and accurate as poeslble. t.lss Pert 1 for creditors with FR|OR|TY unsecured claims end Part 2 for creditors with NONPRIOR|T¥ unsecured c|s|rns.
List the other party to any executory contracts or unexpired lessee diet could result in a clalm. Also list executory contracts on Scheduie A!B: Assers - Reei end
Fiersorre.l Froperly [Ofliclal Form ZGBNB] and on Scheduie G: Executory Comrecis end Unexplred Lesses {Ol‘|‘iclal Forrn 2086}. Number tile entries ln Fsrts 1 and
2 in the boxes on tire iel’t. ll more space is needed for Fart 1 or Pal't 2, till out end attach the Addltlorrsl Psge of that Psrl included ln this form

usi Arl creditors with PRloRrTY unsecured claims

1. Do any creditors lrslre priority unsecqu clsirns? (See 11 lJ.S.C. § 507}.
El No. co lo Parr 2.

l res Go re line 2.

2. l.let in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part ll the debtor has more than 3 creditors
with priority unsecured clelms. nil cut and attach the Adt!ilienal Page cl Part 1.

 

 

 

Total claim Priority amount

|:\ Friorny creditors name and mailing address Ae cline petition lilan dete. the claim is: $56.752.38 $56,752.38

Adams County Treasuror mm ali that 3»°»°*`?-

Brigltte Grtmm, Treasurer n COr\firlsenl

4430 S. Adarns County Pkwy |:l unliquidated

Brightorr. CO 80601 Ei olspuled

Deie or dates debt was incurred Basis for the ciaim:

2017 Reel property taxes due in Aprii 2018

Lasi 4 digits of account number is the claim subject to onset?

Specify Code subsection of FR|ORITY l m

unsecured claim: 11 U.S.C. § 50?{a) {§) g Y
es

 

Llst All Creditors with NONPRIOR|TY Unsecl.rred Clalrne
3. Llst ln alphabetical order ell of the creditors with nonpriorlty unsecured claims. ll the debtor has more then 6 creditors with nonpriority unsecured claims. till
out and atlact'l the Addiiionsl Page cl Perl 2,

 

 

Arnount ot claim

|El Nonprrorny creditors name and mailing address As ortho petition nllrrg dste, the claim is: cnacksrlhalspply. $1:200,000.00

Henzei, Tim |:l contingent

1510 dade Road n Un|iquideied

Columbia, MO 65201 n mmth

hamm dam was '“°"'"°d - Bseis for the clarm: Loan

Lsst 4 digits ot account number_ _

ls the claim subject to olisei? . No n Yes

|E Nonprlortty creditors name and mailing address As ct the petition filing datel the clslm ls: check ar llmi amy Unknown

Owners insurance Compsny l cmungenl

Divlslon of insurance . U t ld ted

1560 Broadway " m a

Denver, CO 80202 . blspured

oste{s} debt was incurred 2017 Basls ror the crairn: Agomg_r¢'s fees and ex@ns_e_§

Lcst 4 digits of account number _ ha ma dam subject w chen l m n yes
Ol‘iicia| Forrn ZUGE.‘F Schedule ElF: Creditors Who Ha\re Uneeeured Clslms page 1 o12

Sonwere Cepyrigh‘l {c} 1996-2017 asst Csse, LLC -wweesrcese_com 51589 Bssi Csss Bsnkruptcy

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DEN°|' 11380 SM|TH RD LLC Caae number (ir mmi 18-10965 TBM
alamo
E| Nenpriority creditors name and mailing address ns er tire peiieen firing date. the claim is: onset al mar apple $32,000.00
Xcel Energy Cl contingent
P.O. Box 94?7 Cl unliquidated
Minneapoiis, MN 55484-94'!7 g mst

Dateisl debt was incurred O§toi.'rer 2017

Baais for the clalm: Ul.ili§! BBNIQB
Last 4 digits ct account number 641 3

le the claim suhieci iu arisen l irc El res

 

List others to se treaties Aoeut unsecured claims

lt. Llet In alphabetical order any others who must be notified lor claims listed in Parts 1 and 2. Exampiaa of entities that may be listed are collection agenciesl
assignees of claims listed abotle. and attorneys for unsecured creditors

if no othem need to be notified ior the debts listed in Parts 1 and 2, do not fill out or submit this page. it additional pages are needed,copy the next page.

blame end mailing address On which line in Part‘l or Parl 2 le tire Last4 digits of
related creditor iii anyi llsted? account number. if
Bl\¥
4-1 Gregory Giornetti, Esq.
cio Gregory R. Giomelti & Assoc. Line B _
50 Sotlth Steele, #480 n _
oenver, co aaon "°‘ "-"‘ed- E*P'°*"__

 

'rotsl Ameunte er tire Prrerity end Nenprierity unsecured claims

5. Add the amounts of priority and nonpiiorlty unsecured claims.
jrotarcr_claim'ameunie. ._ - ` `

 

 

 

 

 

se. rural claim irem earl 1 sa. s 55 752;`3`§`
sir. total claims irem Part 2 Eb- + 5 1,232,00|1.00
irc. Tetal er Perts 1 and z
Lines se + so = so so s 1,288,752.38
Ofiicial Fonn 208 Ei'F Schedule ElF: Creditors Wi'rc Ha\re Uneecu¢ed Claims Page 2 oi' 2

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CERT|F|CATE OF MA|L|NG

| HEREBY CERT|F¥ that a true and correct copy of the foregoing NOTICE
OF AMENDMENT OF PETlT|ON, L|STS, SCHEDULES, STATEMENTS AND/OR
ADD|T|ON OF CREDiTORS ALONG WlTH THE AMENDED SCHEDULE EIF -
CRED|TORS WHO HAVE UNSECURED CLA|MS, has been placed in the United States
maill postage pre-paid, on this?’_"' day of March, 2018, to the iol|owing:

Samuei Boughner, Esq.
Ofiice of the U.S. Trustee
1961 Stout Street

Suite 12-200

Denver, CO 80294

11380 Smith Rd LLC
Attn: Louis Hard
11380 Smith Road
Aurora, CO 80010

Danie| J. N|orse, Esq.

U.S. Tiustee’s Office

308 W. 21sit St., Room 203
Cheyenne, WY 82001

Timothy M. Swanson, Esq.
Moye White LLP

1400 16'h Street, Sixth Floor
Denver, CO 80202

Scott C. James, Esq.

Moye White LLP

1400 16"‘ Street, Sixth F|oor
Den\rer, CO 80202

Adam County Treasurer
Brigitte Grimm. Treasurer
4430 S. Adams County Pkwy
Brighton, 00 80601

Owners insurance Co.
Division of insurance
1560 Broadway
Denver, CO 80202

Gregory Giometti, Esq.

Attorney for Owners insurance Co.
50 South Steele, #480

Denver, CO 80209

\s\Lisa Barenbe

